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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 THE LODGES AT SCOTT, LLC,                      §
                                                §
       Plaintiff,                               §
                                                §
 v.                                             §          Civil Action No. 4:23-cv-4835
                                                §
 U.S. BANK TRUST NATIONAL                       §
 ASSOCIATION, AS TRUSTEE OF HOF                 §
 GRANTOR TRUST 4, AVT TITLE                     §
 SERVICES, LLC, AND RF RENOVO                   §
 MANAGEMENT COMPANY, LLC,                       §
                                                §
       Defendants.                              §


                              NOTICE OF CHANGE OF ADDRESS

       PLEASE TAKE NOTICE that the undersigned counsel’s address and contact information

has changed. Please direct all pleadings and correspondence to the following address:

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                                CERTIFICATE OF SERVICE

        I hereby certify that on June 10, 2024, a true and correct copy of the foregoing was
served in the manner described below on the following:

       Via ECF Notification:
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                                                 /s/ Mark D. Cronenwett
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